 Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 1 of 15 Page ID #:305



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                       Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

Present: HONORABLE FRED W. SLAUGHTER, UNITED STATES DISTRICT JUDGE

       Melissa H. Kunig                                               N/A
        Deputy Clerk                                              Court Reporter

Attorneys Present for Plaintiff:                   Attorneys Present for Defendant:

          Not Present                                           Not Present

PROCEEDINGS: (IN CHAMBERS) ORDER DENYING IN PART AND GRANTING IN
             PART DEFENDANT’S MOTION TO DISMISS FIRST AMENDED
             COMPLAINT [27]
      Before the court is Defendant Enttech Media Group, LLC’s (“Defendant”) Motion to
Dismiss (“Motion” or “Mot.”) Plaintiff Bernhard Kühmstedt’s First Amended Complaint. (Dkt.
27) The Motion is supported by the Declaration of Defendant’s Counsel (“Saryan Decl.”) (Dkt.
27-2). Defendant also attached a Request for Judicial Notice in support of the Motion. (Dkt.
27-3.) Plaintiff Bernhard Kühmstedt (“Plaintiff”) filed an Opposition (“Opposition” or “Opp.”),
a Request for Judicial Notice, and a Request for Sanctions. (Dkt 30.) Alternatively, Plaintiff
requests leave to amend the First Amended Complaint. (Id.) The Opposition is supported by
the Declaration of Plaintiff’s Counsel (“Treschel Decl.”) (Dkt. 30-1). Defendant also filed a
Reply. (Dkt. 31.)
       The court held a hearing on this motion on July 28, 2022. (Dkt. 36.) Based on the state
of the record, as applied to the applicable law, the court DENIES the Motion and DENIES
Plaintiff’s Request for Sanctions.



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                              CIVIL MINUTES – GENERAL                                       1
 Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 2 of 15 Page ID #:306



         __________________________________________________________________
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                          Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

   I.      Background
       Plaintiff is a professional photographer. (Dkt. 24 (“FAC”) ¶ 8.) Plaintiff alleges he took
a photograph of musician Janet Jackson and later registered a copyright for that photograph.
(Id. ¶¶ 9, 11.) Plaintiff further alleges Defendant infringed upon his copyright by sharing the
photograph on its website, Papermag.com, without Plaintiff’s permission or authorization. (Id.
¶ 13-15.) Plaintiff specifically alleges copyright infringement and a violation of the Digital
Millennium Copyright Act, 17 U.S.C. §1202 et seq. (“DMCA”). (Id. ¶¶ 18-31.)
       Defendant previously moved to dismiss Plaintiff’s claims for failure to state a claim
under Federal Rule of Civil Procedure 12(b)(6). (See Dkt. 14.) The court granted Defendant’s
motion and dismissed Plaintiff’s Complaint with leave to amend on April 11, 2022. (See Dkt.
22.) Plaintiff subsequently filed the First Amended Complaint (“FAC”) on April 25, 2022.
(Dkt. 24.) Defendant now brings the instant Motion seeking to dismiss Plaintiff’s FAC for
improper venue or, in the alternative, transfer the case to the District Court for the Southern
District of New York. (Mot. at 6.)
   II.     Requests for Judicial Notice
       Defendant requests that the court take judicial notice of one exhibit. Plaintiff requests
that the court take judicial notice of nine exhibits. The court addresses each request in turn.
              A.    Legal Standard
       Under Federal Rule of Evidence 201, the court may take judicial notice of facts that are
either “generally known within the trial court’s territorial jurisdiction” or “can be accurately and
readily determined from sources whose accuracy cannot reasonably be questioned.” Fed. R.
Evid. 201(b). Courts cannot take judicial notice of facts subject to reasonable dispute. Lee v.
City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001), overruled on other grounds by
Galbraith v. Cnty. of Santa Clara, 307 F.3d 1119 (9th Cir. 2002); see also Twombly, 550 U.S.

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                              CIVIL MINUTES – GENERAL                                              2
 Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 3 of 15 Page ID #:307



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                          Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

at 555 n.11 (“Under Federal Rule of Evidence 201(b), a judicially noticed fact must be one not
subject to reasonable dispute in that it is either (1) generally known within the territorial
jurisdiction of the trial court or (2) capable of accurate and ready determination by resort to
sources whose accuracy cannot reasonably be questioned.”) (internal quotation marks omitted).
       Additionally, the Ninth Circuit has stated that courts may take notice of “records and
reports of administrative bodies.” Interstate Nat. Gas Co. v. S. Cal. Gas Co., 209 F.2d 380 (9th
Cir. 1953). However, when the court takes notice of public records, it may only consider “the
existence of the opinion,” rather than “the truth of the facts cited therein.” Lee, 250 F.3d at 690.
             B.     Defendant’s Request for Judicial Notice
       Defendant requests that the court take judicial notice of Exhibit A, containing “the
copyright information available on the United States Copyright Office’s Website regarding
registration number VA-2-177-269, for the photograph at issue in this case, 11.20.1989
Janet_Jackson.” (Dkt. 27-3 at 2.)
       The court notes that Exhibit A constitutes a public record maintained by the U.S.
Copyright Office and is therefore appropriate for judicial notice. See Oroamerica Inc. v. D & W
Jewelry Co., 10 Fed. App’x. 516, 517 n.4 (9th Cir. 2001) (taking judicial notice of a
supplemental copyright registration certificate and the file history of a U.S. Design Patent);
Warren v. Fox Fam. Worldwide, Inc., 171 F. Supp. 2d 1057, 1062 (C.D. Cal. 2001) (“Copyright
certificates are the type of documents that the court may judicially notice under Rule
201(b)(2).”); Zahedi v. Miramax, LLC, 2021 WL 6882408 (C.D. Cal. Nov. 24, 2021) (granting
a request for judicial notice of copyright registrations as public records). Accordingly, the court
GRANTS Defendant’s Request for Judicial Notice of Exhibit A.


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                              CIVIL MINUTES – GENERAL                                           3
 Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 4 of 15 Page ID #:308



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                           Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

             C.     Plaintiff’s Request for Judicial Notice
      Plaintiff requests that the court take judicial notice of the following nine exhibits in
support of the Opposition, Request for Leave to Amend, and Request for Sanctions:
   1. Exhibit 1 is a copy of the article “California Makes ‘Stealthing’ During Sex Illegal”,
      publicly available at URL https://www.papermag.com/california-stealthing-ban-
      2655285200.html.
   2. Exhibit 2 is a copy of the article ““California Bill Seeks Gender-Neutral Store Displays
      for Kids”, publicly available at URL https://www.papermag.com/california-bill-gender-
      neutral2654887507.html.
   3. Exhibit 3 is a copy of the article “The LA Brand Bringing ‘Malibu Sleaze’ to Fashion,”
      publicly available at URL https://www.papermag.com/ace-sex-doll-2656335239.html.
   4. Exhibit 4 is copy of the article “Drakeo the Ruler Fatally Stabbed at LA Concert”,
      publicly available at URL .
   5. Exhibit 5 is a copy of the homepage of the website (www.whatismyip.com/dns/look-up/)
      that Plaintiff used to look up the Internet protocol (“IP”) addresses associated with the
      URL http://www.papermag.com or IP addresses 104.26.4.57, 104.26.5.57, and
      172.67.71.122.
   6. Exhibit 6 is copy of the publicly available webpage www.whatismyip.com showing the
      more detailed description of the IP address 104.26.4.57.
   7. Exhibit 7 is a copy of the publicly available webpage www.whatismyip.com showing the
      more detailed description of the IP address 104.26.5.57.
   8. Exhibit 8 is a copy of the publicly available webpage www.whatismyip.com showing the
      more detailed description of the IP address 172.67.71.122.
   9. Exhibit 9 is a copy of Papermag.com’s “Terms and Conditions”, publicly available at
      URL https://www.papermag.com/terms-2648462038.html.
(Opp., Exhs. 2-10.)
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                              CIVIL MINUTES – GENERAL                                            4
 Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 5 of 15 Page ID #:309



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                             Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

       As a preliminary matter, the court notes that “[f]ederal courts . . . have expressed
skepticism as to whether it is appropriate to take judicial notice of information or documents
appearing on websites that are created and maintained by a party to the litigation.” Gerritson v.
Warner Bros Ent. Inc., 112 F. Supp. 3d 1011, 1030 (C.D. Cal. 2015) (collecting cases).
However, the court also declines to take judicial notice of Exhibits 1-9 because the court does
not require the documents to decide the Motion. See id. at 1029-30 (declining to take judicial
notice of documents irrelevant to motion to dismiss); Warner v. Tinder Inc., 105 F. Supp. 3d
1083, 1090 (C.D. Cal. 2015) (declining to incorporate by reference documents where “the court
[did] not [need] [to] consider the exhibits to grant [defendant’s] requested relief”).
Accordingly, the court DENIES Plaintiff’s Request for Judicial Notice.
   III.     Defendant’s Motion to Dismiss for Improper Venue

              A.    Legal Standard
       Under Federal Rule of Civil Procedure 12(b)(3), a party may move to dismiss an action
for improper venue. Fed. R. Civ. P. 12(b)(3). “When venue is improper, the court ‘shall
dismiss, or if it be in the interest of justice, transfer such case to any district or division in which
it could have been brought.’” Kaia Foods, Inc. v. Bellafiore, 70 F. Supp. 3d 1178, 1184 (N.D.
Cal. 2014) (quoting 28 U.S.C. § 1406(a)). “Dismissal, rather than transfer, may be appropriate
where the transfer would be futile because the case would be dismissed even after transfer.” Id.
In deciding a motion to dismiss for improper venue, the court need not accept the pleadings as
true and “may consider facts outside the pleadings.” Murphy v. Schneider Nat’l, Inc., 362 F.3d
1133, 1137 (9th Cir. 2004) (citations omitted). The plaintiff bears the burden of showing venue
is proper. See Piedmont Label Co. v. Sun Garden Parking Co., 598 F.2d 491, 496 (9th Cir.
1979) (“Plaintiff had the burden of showing that venue was properly laid in the [district].”).
      However, “[a] fundamental tenet of the Federal Rules of Civil Procedure is that certain
defenses under Fed. R. Civ. P. 12 must be raised at the first available opportunity or . . . [be]
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                               CIVIL MINUTES – GENERAL                                              5
    Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 6 of 15 Page ID #:310



         __________________________________________________________________
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                         Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

forever waived.” Am. Ass’n of Naturopathic Physicians v. Hayhurst, 227 F.3d 1104, 1106 (9th
Cir. 2000) (citing Fed. R. Civ. P. 12(g), (h)). “A defendant, properly served with process by a
court having subject matter jurisdiction, waives venue by failing seasonably to assert it[.]”
Hoffman v. Blaski, 363 U.S. 335, 343 (1960). Thus, to avoid waiving the improper venue
defense, “[a]ny objection must be raised before answering by way of filing a motion under Rule
12 of the Federal Rules of Civil Procedure or in the first responsive pleading if a Rule 12
motion was not filed.” McRo, Inc. v. Valve Corp., 2017 WL 3189007, at *3 (C.D. Cal. July 24,
2017); see also Fed. R. Civ. P. 12(g)(2) (“[A] party that makes a motion under this rule must
not make another motion under this rule raising a defense or objection that was available to the
party but omitted from its earlier motion.”); Fed. R. Civ. P. 12(h)(1) (“A party waives any
defense under Rule 12(b)(2)-(5) by . . . omitting it from a motion in the circumstances described
in Rule 12(g)(2).”).
              B.    Discussion

       The parties dispute three issues: (1) whether Defendant waived the improper venue
defense; (2) the correct venue location; and (3) the applicable venue statute. Defendant argues
that this case should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(3) and 28
U.S.C. § 1406 or, in the alternative, transferred.1 (Mot. at 3-5.) Defendant further argues that


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  Although Defendant does not specify which statute it requests that the court use to transfer this
case, the court observes that the transfer request falls within the section of Defendant’s brief
discussing 28 U.S.C. § 1406. (See Mot. at 6.) Defendant also does not discuss 28 U.S.C.
§ 1404 in this Motion. (See generally Mot.) Thus, because Defendant maintains venue is
improper and does not mention § 1404, the court construes Defendant’s request as a request to
transfer pursuant to § 1406. See Atl. Marine Constr. Co. v. U.S. Dist. Ct. for W. Tex., 571 U.S.
49, 59 (2013) (“Unlike § 1406(a), § 1404(a) does not condition transfer on the initial forum’s
being ‘wrong.’”).
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                              CIVIL MINUTES – GENERAL                                          6
 Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 7 of 15 Page ID #:311



       __________________________________________________________________
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                         Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

venue would be proper in the Southern District of New York pursuant to 28 U.S.C. § 1391(b)
because Defendant resides in New York City. (Mot. at 2.)

       In Opposition, Plaintiff argues that Defendant waived the improper venue defense by first
filing a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) that did not raise
improper venue. (Opp. at 2-3.) Plaintiff also argues that venue is properly laid in the Central
District of California under 28 U.S.C. § 1400(a). In response, Defendant argues that it did not
waive the improper venue defense because the possibility for dismissal under Rule 12(b)(3), as
opposed to transfer, did not arise until after the motion to dismiss was filed. (Reply at 6.).
Defendant also cites two cases in support of its argument. (Id.)
      In this case, the court observes that Defendant previously filed a 12(b)(6) motion on
February 25, 2022. (See Dkt. 14.) It is undisputed that Defendant did not raise improper venue
under Federal Rule of Civil Procedure 12(b)(3) or 28 U.S.C. § 1406 in that motion. (See
generally id.) The court concludes that Defendant waived the venue defense by not raising
venue in its prior motion to dismiss under Rule 12(b)(6). See Fed. R. Civ. P. 12(h)(1) (“A party
waives any defense under Rule 12(b)(2)-(5) by . . . omitting it from a motion in the
circumstances described in Rule 12(g)(2).”); 28 U.S.C. § 1406(b) (“Nothing in this chapter shall
impair the jurisdiction of a district court of any matter involving a party who does not interpose
timely and sufficient objection to venue.”).
       Furthermore, the court finds Defendant’s arguments concerning waiver do not alter this
conclusion. First, the court finds Defendant’s argument that the venue defense was not
available at the time the motion to dismiss was filed unpersuasive. Although courts have held
that defendants do not waive the defense of improper venue “if its legal basis did not exist at the
time of the answer or pre-answer motion,” Defendant cites no applicable “intervening change in
law.” See Akeso Health Sci., LLC v. Designs for Health, Inc., 2018 WL 2558420, at *2 (C.D.
Cal. Jan. 25, 2018) (quoting Holland v. Big River Minerals Corp., 181 F.3d 597, 605 (4th Cir.
1999)). Instead, Defendant argues that at the time the earlier motion to dismiss was filed, “it
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                              CIVIL MINUTES – GENERAL                                          7
 Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 8 of 15 Page ID #:312



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                         Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

was unable to seek dismissal under Rule 12(b)(3) based on the argument that Plaintiff’s action
is frivolous . . . because this issue arose on May 10, 2022, once Plaintiff dismissed its request
for statutory fees and attorney’s fees.” (Mot. at 6.)
       The court observes that whether venue is proper does not turn on the alleged futility of
Plaintiff’s action or Defendant’s desired remedy. The proper venue for any suit is dictated by
statute. See Atl. Marine Constr. Co., 571 U.S. at 56 (“The structure of the federal venue
provisions confirms that they alone define whether venue exists in a given forum.”). Given the
well-established nature of the venue inquiry, the court finds the improper venue defense was
available to Defendant at the time the previous motion to dismiss was filed.
       Second, the court finds Defendant’s cited authority to be inapposite. In both cases,
Phillips v. Baker, 121 F.2d 752 (9th Cir. 1941), and Crum v. Graham, 32 F.R.D. 173 (D. Mont.
1963), the courts held defendants did not waive various Rule 12 defenses; however, the Ninth
Circuit and the district court were interpreting a previous iteration of Federal Rule of Civil
subsection 12(h) that did not specify which defenses or motions were subject to waiver. See
Philips, 121 F.2d at 755 (quoting subdivision 12(h) as stating “[a] party waives all defenses and
objections which he does not present either by motion as hereinbefore provided or, if he has
made no motion, in his answer or reply”); Crum, 32 F.R.D. at 175 (following the Ninth
Circuit’s holding in Phillips). However, the court notes that Rule 12(h) was amended in 1966.
See Fed. R. Civ. P. 12(h) advisory committee’s note to 1966 amendment. In the notes on this
amendment, the Advisory Committee discussed the previous split resulting from this ambiguous
language and described the significance of the amendment:
             Amended subdivision (h)(1)(A) eliminates the ambiguity and states that
             certain specified defenses which were available to a party when he
             made a preanswer motion, but which he omitted from the motion, are
             waived. The specified defenses are lack of jurisdiction over the person,

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                              CIVIL MINUTES – GENERAL                                          8
 Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 9 of 15 Page ID #:313



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                        Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

             improper venue, insufficiency of process, and insufficiency of service
             of process (see Rule 12(b)(2)–(5)).

             ...

             By amended subdivision (h)(1)(B), the specified defenses, even if not
             waived by the operation of (A), are waived by the failure to raise them
             by a motion under Rule 12 or in the responsive pleading or any
             amendment thereof to which the party is entitled as a matter of course.
Id. (emphasis added).
       Because the operative version of Rule 12(h) explicitly identifies the defenses in 12(b)(2)-
(5)—including improper venue—as subject to waiver, the court finds the holdings in these cases
inapplicable. See Fed. R. Civ. P. 12(h); id. advisory committee’s note to 1966 amendment.
(“Since the language of the subdivisions is made clear, the party is put on fair notice of the
effect of his actions and omissions and can guard himself against unintended waiver.”).

       Moreover, the court notes that Defendant does cite to cases interpreting the modern
iteration of Rule 12(h) in other sections. The court observes that in numerous places in its
Motion and Reply, including the section discussing waiver, Defendant cites King v. Russell, 963
F.2d 1301 (9th Cir 1992.). (See Mot. at 3; Reply at 5, 6.) In that case, the Ninth Circuit
explicitly held that defendants had waived the improper venue defense in substantially similar
circumstances to the instant case. See King, 963 F.2d at 1305 (holding defendants’ “failure to
raise the defense of improper venue in conjunction with their 12(b)(6) motion constituted
waiver of that defense.”). The court further observes that in its Reply, Defendant did not
address Plaintiff’s arguments regarding waiver under the plain text of Rule 12. (Reply at 5-6.)
The court notes that the Ninth Circuit and Federal Rules of Civil Procedure require that parties
make a “reasonably inquiry” as to whether a motion is supported by existing law. Cf. Townsend
v. Holman Consulting Corp., 929 F.2d 1358, 1367 (9th Cir. 1990) (“The district court’s
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                             CIVIL MINUTES – GENERAL                                          9
 Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 10 of 15 Page ID #:314



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                          Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

rationale for finding the motion . . . frivolous was correct and not an abuse of discretion. A
competent reading of our rules and precedent would very quickly have made clear to [the party]
that he did not follow the correct procedures . . . .”).

      Based on the record, as applied to the applicable law, the court concludes Defendant
waived the venue defense under Rule 12(b)(3) and 28 U.S.C. § 1406 by filing a previous Rule
12(b)(6) motion that did not address venue. Accordingly, the court DENIES the Motion to
Dismiss for improper venue.

       “Furthermore, once a party has waived the defense of improper venue, courts generally
should not raise the issue on their own.” Sandy v. McClure, 2008 WL 4830727, at *2 (N.D.
Cal. Nov. 6, 2008); see also McRo, 2017 WL 3189007, at *3 (“[T]he Court concludes that
Defendant waived any assertion of improper venue. The Court therefore denies Defendant’s
motion without any need to consider Plaintiff’s other arguments for why venue should be
maintained here.”); cf. Costlow v. Weeks, 790 F.2d 1486, 1488 (9th Cir. 1986) (citing
Concession Consultants Inc. v. Mirisch, 355 F.2d 369, 371 (2d Cir. 1966) (“In the absence of a
waiver, we can find no reason to hold the district court erred by raising the issue of defective
venue on its own motion.”) (emphasis added); Concession Consultants Inc., 355 F.2d at 371
(“Since the right to attack venue is personal to the parties and waivable at will, a district judge
should not, in the absence of extraordinary circumstances, impose his choice of forum upon the
parties by deciding on his own motion that there was a lack of proper venue.”). The court finds
that the circumstances surrounding Defendant’s waiver here are not extraordinary; rather, the
circumstances are exactly those contemplated by Federal Rule of Civil Procedure 12. See Fed.
R. Civ. P. 12(h) advisory committee’s note to 1966 amendment (“A party who by motion
invites the court to pass upon a threshold defense should bring forward all the specified
defenses he then has and thus allow the court to do a reasonably complete job.”). Thus, the
court does not further address whether venue is proper.

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                              CIVIL MINUTES – GENERAL                                           10
Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 11 of 15 Page ID #:315



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                         Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

   IV.     Plaintiff’s Request for Sanctions
       In the Opposition, Plaintiff argues that Defendant’s counsel, Robert Tauler, should be
sanctioned pursuant to either 28 U.S.C. § 1927 or the court’s inherent powers. (Opp. at 17-18.)
Plaintiff argues that Mr. Tauler unreasonably and vexatiously multiplied the proceedings by
filing papers “not supported by the law or an argument for an extension of the law.” (Id. at 17.)
Plaintiff also argues that Mr. Tauler filed the Motion in bad faith because he: (1) failed to
provide any legal authority for the Motion during the meet and confer process; and (2) sent
additional threatening emails to Plaintiff’s counsel. (Id. at 18 n.10; Trechsel Decl. ¶ 8.)
       “Three primary sources of authority enable courts to sanction parties or their lawyers for
improper conduct: (1) Federal Rule of Civil Procedure 11, which applies to signed writings
filed with the court, (2) 28 U.S.C. § 1927, which penalizes conduct that unreasonably and
vexatiously multiplies the proceedings, and (3) the court’s inherent power.” Fink v. Gomez, 239
F.3d 989, 991 (9th Cir. 2001). Because Plaintiff requests sanctions only pursuant to 28 U.S.C.
§ 1927 and the court’s inherent power, the court does not address Rule 11.
       Under 28 U.S.C. § 1927, the court may require “[a]ny attorney or other person admitted
to conduct cases in any court of the United States . . . who so multiplies the proceedings in any
case unreasonably and vexatiously . . . to satisfy personally the excess costs, expenses, and
attorneys’ fees reasonably incurred because of such conduct.” 28 U.S.C. § 1927. The Ninth
Circuit has held that “sanctions pursuant to section 1927 must be supported by a finding of
subjective bad faith.” Blixseth v. Yellowstone Mountain Club, LLC, 796 F.3d 1004, 1007 (9th
Cir. 2015). “[B]ad faith is present when an attorney knowingly or recklessly raises a frivolous
argument.” Id.
       Similarly, the court may impose sanctions based on its inherent powers “if the court
specifically finds bad faith or conduct tantamount to bad faith”, such as “willful actions,
including recklessness when combined with an additional factor such as frivolousness,

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                              CIVIL MINUTES – GENERAL                                          11
Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 12 of 15 Page ID #:316



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                         Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

harassment, or an improper purpose.” Fink, 239 F.3d at 994. Although the court’s “inherent
powers must be exercised with restraint and discretion”, the Supreme Court has stated that “[a]
primary aspect of this discretion is the [court’s] ability to fashion an appropriate sanction for
conduct which abuses the judicial process.” Chambers v. NASCO, Inc., 501 U.S. 32, 44-45
(1991).
       Finally, Local Rule 83-7 provides that the violation of or failure to conform to the Central
District of California’s Local Rules may subject the offending party or counsel to: “(a)
monetary sanctions, if the Court finds that the conduct was willful, grossly negligent, or
reckless; (b) the imposition of costs and attorneys’ fees to opposing counsel, if the Court finds
that the conduct rises to the level of bad faith and/or a willful disobedience of a court order;
and/or (c) for any of the conduct specified in (a) and (b) above, such other sanctions as the
Court may deem appropriate under the circumstances.” L.R. 83-7.
       The court declines to impose sanctions based on Defendant’s arguments at this time.
Although the court finds that Defendant’s venue arguments were waived as discussed above,
the record does not sufficiently reflect evidence of Defendant’s subjective bad faith.
Accordingly, the court declines to issue sanctions under 28 USC § 1927 or the court’s inherent
power based on Defendant’s venue argument. See Blixseth, 796 F.3d at 1007.
       However, the court does feel compelled to further address Mr. Tauler’s conduct. The
court previously issued a warning to Mr. Tauler regarding his conduct towards Plaintiff’s
counsel. (See Dkt. 22 at 8.) In that order, the court addressed several disparaging emails that
Mr. Tauler sent to Plaintiff’s counsel. (Id. at 8-10.) The court also noted that Mr. Tauler “has
been repeatedly warned by other courts about his behavior.” (Id. at 10 (citing two other district
courts’ admonishments of Mr. Tauler).) Now, in response to the instant Motion, Plaintiff




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                              CIVIL MINUTES – GENERAL                                          12
Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 13 of 15 Page ID #:317



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                         Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

notified the court of two additional emails Plaintiff’s counsel received from Mr. Tauler that the
court did not previously have the opportunity to address.2 (See Opp., Exh. 10.)
       In Mr. Tauler’s first email, sent to Plaintiff’s counsel at 10:12 a.m. on March 23, 2022, he
stated:
             . . . [Y]ou really screwed up here. You should never have tried the
             sanctions gambit. You are all mine now.
(Opp., Exh. 11.)
      In the second email, sent seven minutes later at 10:19 a.m. on March 23, 2022, Mr.
Tauler said:
             I am not even going to help you find a new job after [law firm] is done
             sucking the life out of you. I was willing to help you get out of there.
             I am very disappointed in you. You now have an enemy for life. I will
             follow you wherever you go. If the case isn’t tossed for some reason,
             and we actually have to litigate for the next two years, I can promise
             you will never forget my name . . . .
(Id.)
       Although the court declines to impose sanctions at this time, the court admonishes Mr.
Tauler for his conduct unbecoming an officer of the court. In keeping with the court’s previous
order, (see Dkt. 22,) the court refers Mr. Tauler to the Central District of California’s Civility

2
 At oral argument, Mr. Tauler noted that he sent these emails before the court issued the
previous order reprimanding Mr. Tauler on April 11, 2022. Regardless of the timing of the
emails, the court finds Mr. Tauler should not require notice from the court to conduct himself
with civility.
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                              CIVIL MINUTES – GENERAL                                          13
Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 14 of 15 Page ID #:318



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                         Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

and Professionalism Guidelines3 and the California Attorney Guidelines of Civility and
Professionalism.4 Specifically, the court points Mr. Tauler to section 4 of the California
Attorney Guidelines of Civility and Professionalism, which states:
             An attorney’s communications about the legal system should at all
             times reflect civility, professional integrity, personal dignity, and
             respect for the legal system. An attorney should not engage in conduct
             that is unbecoming a member of the Bar and an officer of the court. For
             example, in communications about the legal system and with
             adversaries:
             a. An attorney’s conduct should be consistent with high respect and
                esteem for the civil and criminal justice systems.
             ...
             b. An attorney should not disparage the intelligence, integrity, ethics,
                morals or behavior of the court or other counsel, parties or
                participants when those characteristics are not at issue.
             ...
             f. An attorney should avoid hostile, demeaning or humiliating words.
CAL. ATT’Y GUIDELINES CIVILITY & PROFESSIONALISM § 4.



3
  Available at: https://www.cacd.uscourts.gov/attorneys/admissions/civility-and-
professionalism-guidelines.
4
  Available at: https://www.calbar.ca.gov/Portals/0/documents/ethics/Civility/Atty-Civility-
Guide-Revised Sept-2014.pdf.
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                             CIVIL MINUTES – GENERAL                                         14
Case 2:21-cv-10032-FWS-JEM Document 38 Filed 08/10/22 Page 15 of 15 Page ID #:319



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No.: 2:21-cv-10032-FWS-JEM                                           Date: August 10, 2022
Title: Bernhard Kühmstedt v. Enttech Media Group, LLC et al.

       The court cautions Mr. Tauler that any further instances of conduct unbecoming an
attorney or threats directed at Plaintiff’s counsel may result in sanctions, including referral to
the State Bar of California.

   V.      Disposition

      For the reasons set forth above, the court DENIES the Motion. The court also DENIES
the Request for Sanctions.


        The Clerk shall serve this minute order on the parties.


                                                       Initials of Deputy Clerk: mku




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                               CIVIL MINUTES – GENERAL                                               15
